[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
DECISION OF STATE TRIAL REFEREE
The above-entitled matter having been referred to me as State Trial Referee by the Judicial District of WATERBURY to hear the evidence and render a decision, I held a hearing upon the same at the Court House at Waterbury on May 15, 1992, AND DECIDE AS FOLLOWS:
1. On FEBRUARY 19, 1992, the Transportation Commissioner, pursuant to Statute, agreed to acquire for the layout, alteration, improvement and construction of a highway known as HARPERS FERRY ROAD land and improvements thereon as described in the Voucher Agreement.
2. Said property owners have agreed to accept the sum of $144,000.00 subject to such terms or conditions as appear in the Voucher Agreement which has been made.
3. I heard the evidence produced by the Transportation Commissioner, and find the the amount that the property owners have agreed to accept is reasonable and the terms of the settlement fair and just to both parties.
J. HEALEY, STATE TRIAL REFEREE CT Page 4493